Case 2:04-cr-20366-.]Pl\/| Document 50 Filed 08/26/05 Page 1 of 2 PagelD 69

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UN|TED STATES OF AMERICA, ) G£WYP(:%::.(:SIM
P|aintiff, §

vs. § Cr. No. 04-20366-M|/V

ALAN STEVEN BRAVERMAN, §
Defendant. §

ORDER GRANT|NG GOVERNMENT’S ORAL MOT|ON
TO DlSM|SS COUNTS 2 THROUGH 23 OF THE lNDICTMENT

This cause came before the court at the sentencing hearing in this matter on July
8, 2005, upon the oral motion of counsel forthe United States to dismiss counts 2 through
23 of the indictment in this case pursuant to the terms of the plea agreement, and it
appears to the Court that the plea agreement in this case having been accepted and
sentence imposed on count 1 of the indictment, the government’s motion is well taken and

should be granted.

SO ORDERED this §§ day Of AML\;T ,2005.

@CFN" wl

J PH|PPS MCCALLA
\ nited States District Judge

 

Thls document entered on the docket sheet in compliance
with Ruls 55 and/or 32(b) FRCrP on "

   

UNITED sTATE DRISTIC COURT - WETERN D'S'TRCT OFTENNESSEE

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Honorable J on MeCalla
US DISTRICT COURT

